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   6    Natural Care, Inc.
   7

   8

   9                         UNITED STATES DISTRICT COURT
  10                        CENTRAL DISTRICT OF CALIFORNIA
  11

  12    THRIVE NATURAL CARE, INC.,         Case No. 2:20-CV-9091-PA-AS
  13                    Plaintiff,         DECLARATION OF DAVID
                                           DREWS IN SUPPORT OF
  14          v.                           PLAINTIFF’S MOTION FOR
                                           PARTIAL SUMMARY JUDGMENT
  15    THRIVE CAUSEMETICS, INC.,
                                           Hon. Percy Anderson
  16                    Defendant.
                                           Hearing Date: September 13, 2021
  17                                       Time: 1:30 p.m.
                                           Courtroom: 9A
  18

  19

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                                                            DECLARATION OF DAVID DREWS
                                                                Case No. 2:20-CV-09091-PA-AS
Case 2:20-cv-09091-PA-AS Document 33-3 Filed 08/06/21 Page 2 of 57 Page ID #:477




   1         I, DAVID DREWS, declare as follows:
   2         1.     I make this Declaration in support of Plaintiff’s Motion for Partial
   3   Summary Judgment. The matters set forth herein are of my own personal
   4   knowledge if called upon to testify as to such matters, I could and would do so.
   5         2.     I am the founder and president of IPmetrics, an intellectual property
   6   consulting firm based in San Diego, California, which specializes in the strategic
   7   analysis, valuation, and expert witness assessment of the full spectrum of
   8   intellectual property and intangible assets. My relevant experience is described in
   9   detail in the attached expert report and CV, but I will briefly summarize it here.
  10         3.     I am an intellectual property consultant and have over 30 years’
  11   experience as a financial analyst, primarily concentrated in valuing intellectual
  12   property, including trademarks, trade dress, copyrights, patents, rights of publicity,
  13   know-how, trade secrets, and domain names, among others. I have been called upon
  14   to calculate values and damages related to infringement of intellectual property in
  15   numerous litigation and arbitration proceedings.
  16         4.     In addition to publishing articles for numerous journals, industry
  17   publications and websites, I am a frequent lecturer on IP valuation issues, including
  18   CLE-accredited presentations that focus on trademark infringement damages. I
  19   have taught several courses for intellectual property valuation and related topics,
  20   including the Intellectual Property Damages course for the National Association of
  21   Certified Valuation Analysts and a Monetary Remedies in Trademark Cases
  22   seminar for the University of San Diego School of Law. I have served on the
  23   Valuation and Taxation Committee and the Trademarks Committee of the
  24   Licensing Executives Society (USA & Canada) and as Chair on the IP Valuation
  25   Committee of Licensing Executives Society International. I have also served on the
  26   Famous and Well-known Marks Committee of the International Trademark
  27   Association (INTA). I currently serve as Editor for les Nouvelles, a peer-reviewed
  28   journal dealing with intellectual property and licensing matters.
                                                                   DECLARATION OF DAVID DREWS
                                                                       Case No. 2:20-CV-09091-PA-AS
                                                  -1-
Case 2:20-cv-09091-PA-AS Document 33-3 Filed 08/06/21 Page 3 of 57 Page ID #:478
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                               Exhibit A




                                                                    DREWS 1
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                                    Schedule 1




TNC v. TCI                              CONFIDENTIAL                  Damages Summary
Supplemental Damages Analysis   Expert Report of David Drews, CLP     DREWS     22021
                                                                         August 5,
                                Case 2:20-cv-09091-PA-AS Document 33-3    Filed 08/06/21 Page 8 of 57 Page ID #:483
                                                                    Schedule 3




   [1




TNC v TCI
Supplemental Damages Analysis
                                                                          CONFIDENTIAL
                                                                  Expert Report of David Drews, CLP                   DREWS  3 5, 2021
                                                                                                                         D Hybrid Products
                                                                                                                           August
                        Case 2:20-cv-09091-PA-AS Document 33-3 Filed 08/06/21 Page 9 of 57 Page ID #:484
                                                               Schedule 7




 [2]




 [2]




[1]
[2]




TNC v. TCI                                                   CONFIDENTIAL                                  Corrective Advertising
Supplemental Damages Analysis                        Expert Report of David Drews, CLP                     DREWS  August45, 2021
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                                Exhibit B




                                                                    DREWS 5
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         CONFIDENTIAL – ATTORNEYS’ EYES ONLY



        Thrive Natural Care, Inc.
                   v.
        Thrive Causemetics, Inc.
           EXPERT REPORT OF DAVID DREWS, CLP

                                    Submitted to
                                 Stephen McArthur
                            The McArthur Law Firm, P.C.
                          9465 Wilshire Boulevard, Suite 300
                              Beverly Hills, CA 90212
                                    323.639.4455




                                    Submitted by
                                  IPmetrics LLC
                          9320 Chesapeake Drive, Suite 110
                               San Diego, CA 92123
                                   858.538.1533




                                     July 5, 2021




                                                                    DREWS 6
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  I.      ASSIGNMENT

          The McArthur Law Firm, P.C. has retained IPmetrics® LLC (“IPmetrics”) on behalf of
          Thrive Natural Care, Inc. (“Thrive” or “Plaintiff”) to provide expert and litigation support
          services in Civil Action No. 2:20-cv-9091 brought by Plaintiff in the United States District
          Court for the Central District of California. The subject of the litigation is Thrive
          Causemetics, Inc.’s (“TCI” or “Defendant”) unauthorized use of Plaintiff’s THRIVE
          trademarks (the “THRIVE Marks”) in the advertising, marketing, offering, sale and
          distribution of various skincare products in violation of the Lanham Act and other related
          claims (the “Infringing Use”).1

          David Drews, the author of this report, has been named the testifying expert representing
          IPmetrics in this matter. I have been asked to render opinions on the appropriate level of
          damages and other monetary recoveries to be awarded to Plaintiff for the unauthorized use
          of the THRIVE Marks by the Defendant. For the purposes of this report, it is assumed that
          liability will be established at trial.2 Therefore, this report serves as guidance to the finder of
          fact regarding the damages claims and other monetary recoveries under this assumption.

          The analysis and damages opinions detailed in this report cover the period from 2018, the
          year that the THRIVE Marks were first used in commerce on skincare products by Defendant,
          through the present (the “Damages Period”). There are also prospective damages
          contemplated due to the potential ongoing negative impact on Plaintiff’s business.

          To date, I have reviewed the Complaint and related legal documents, applicable portions of
          the document production from both parties, relevant websites, deposition transcripts and their
          associated exhibits, and financial information for both parties. I have also performed
          independent research on the skincare industry, as well as licensing and other royalty-based
          agreements related to similar products. This information provides the basis for the analysis
          and conclusions in this report. All documents reviewed and relied upon are listed in
          Appendix B to this report.

          The analysis detailed in this report is presented as of July 5, 2021 and reflects my analysis of
          the information produced in this case thus far, as well as independent research. I reserve the
          right to amend, expand, and/or supplement this report as additional information and/or
          documents are made available to me during the course of the litigation. At a minimum, I
          anticipate receiving updated sales information related to accused products at a date closer to
          trial.

          As a result of my experience with intellectual property and my review of the information and
          documents produced thus far in this case, I have reached the conclusions described herein
          and have prepared this expert report. Subsequent sections of this report highlight the



  1
      First Amended Complaint for Federal Trademark Infringement, Federal Unfair Competition, Common Law
      Trademark Infringement, Common Law Unfair Competition and Violation of Cal. Bus. & Prof. Code § 17200 dated
      July 1, 2021 and Exhibits (“Complaint”) [Document 28].
  2
      This assumption precludes the need to describe any claim or aspect that falls within its bounds as “alleged” for the
      remainder of this report.

                                                                                                          DREWS 8
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        methodologies, data, research and case documents utilized in the associated analyses. The
        footnotes are an integral part of this report.

        This report includes multiple appendices containing information required by Federal Rule of
        Civil Procedure 26(a)(2)(B). These consist of the qualifications of the testifying expert with
        a list of publications over the last ten years, testimony experience during the previous four
        years, a list of documents reviewed in this matter, and disclosure of compensation
        arrangements. IPmetrics’ compensation in this matter is not, in any way, dependent upon the
        conclusions reached during the performance of the analysis or on the result of the litigation.

  II.   QUALIFICATIONS

        I am the founder and president of IPmetrics, an intellectual property consulting firm that
        specializes in the strategic analysis, valuation, and expert witness assessment of the full
        spectrum of intellectual property and intangible assets. I am an intellectual property
        consultant and have accumulated over 30 years’ experience as a financial analyst, primarily
        concentrated in valuing intellectual property of all types, including trademarks, trade dress,
        copyrights, patents, rights of publicity, know-how, trade secrets and domain names, among
        others. My valuation experience includes projects involving use of the assets as collateral,
        transaction due diligence, joint venture negotiations, licensing, transfer pricing and
        bankruptcy / reorganization. I have also been called upon to calculate values and damages
        related to infringement of intellectual property in numerous litigation and arbitration
        proceedings.

        In addition to publishing articles for numerous journals, industry publications and websites,
        I am a frequent lecturer on IP valuation issues, including CLE-accredited presentations that
        feature information on trademark infringement damages. I have taught several courses for
        intellectual property valuation and related topics, including the Intellectual Property
        Damages course for the National Association of Certified Valuation Analysts and a Monetary
        Remedies in Trademark Cases seminar for the University of San Diego School of Law. I
        have served on the Valuation and Taxation Committee and the Trademarks Committee of the
        Licensing Executives Society (USA & Canada) and as Chair on the IP Valuation Committee
        of Licensing Executives Society International. I have also served on the Famous and Well-
        known Marks Committee of the International Trademark Association. I currently serve as
        Editor for les Nouvelles, a peer-reviewed journal dealing with intellectual property and
        licensing matters.

        I have testified on many occasions in litigation and arbitration involving damage calculations
        and valuation of trademarks, patents, copyrights, trade secrets, trade dress and rights of
        publicity, and have been accepted by numerous courts as an expert witness in this regard. A
        more detailed listing of my experience and credentials, as well as cases in which I have
        testified in the past four years and my publications and presentations for the past ten years, is
        set forth in my curriculum vitae, an abbreviated version of which is attached hereto as
        Appendix A.




                                                                                           DREWS 9
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 III.     SUMMARY OF OPINIONS

          Upon reviewing the documentation and evidence listed in Appendix B, and informed by my
          extensive experience in valuing intellectual property and calculating intellectual property-
          related damages, I have arrived at the following opinions in this matter, the bases for which
          are explained in the subsequent sections of this report:

           1.   The amount of historical damages suffered by Plaintiff due to the actions of the
                Defendant is calculated using an analysis of the Defendant’s profits as well as a
                reasonable royalty derived from a hypothetical negotiation between Plaintiff and
                Defendant. The damages measured using the Defendant’s Profits analysis are
                determined to be                 Please see Schedules 1, 2 and 3 for additional
                information.

           2.   Based on an analysis of relevant licensing information and the application of a modified
                Georgia-Pacific analysis, a reasonable royalty rate for the right to use the THRIVE
                Marks in association with various skincare products and hybrid skincare products is
                determined to be         of Defendant’s Net Sales. Please see Schedules 4 and 5 for
                additional information.

           3.   Applying the concluded royalty rate to the Defendant’s applicable royalty base leads to
                a conclusion of             in Reasonable Royalty damages. Please see Schedules 4, 5
                and 6 for additional information.

           4.   The prospective advertising expenditures necessary to correct inaccurate impressions in
                the marketplace regarding the ownership, authorization and relationships surrounding
                the THRIVE Marks are calculated to be                      Please see Schedule 7 for
                additional information.

          The foregoing conclusions are based upon the documents and information reviewed as of the
          date of this report, as well as my educational background and experience in valuing
          intellectual property and intangible assets. They do not include any enhanced damages or
          pre- or post-judgment interest. I hold these opinions with a reasonable degree of professional
          certainty.

 IV.      BACKGROUND3

          In order to understand the proper context for the analysis, a brief overview of the parties,
          subject marks and important events relevant to this case is presented in this background
          section.




  3
      Unless claimed otherwise, the source of this background information is the Complaint.

                                                                                              DREWS 10
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          A.    Company Background – Thrive Natural Care, Inc.4

                Plaintiff Thrive Natural Care, Inc. is a Delaware corporation with its principal place of
                business in San Francisco, California. Plaintiff has been providing THRIVE Marks-
                branded skincare products since 2013.

                Thrive sells a range of skincare and grooming products, including face washes and
                scrubs, lotions, moisturizers, sunscreens, face balms, shaving lotions, and grooming oils.
                These products are made especially for people with sensitive or active-lifestyle skin.
                The plant oils found in Plaintiff’s products contain skin-protecting antioxidants and raw
                ingredients that reduce inflammation and irritation better than conventional synthetic
                ingredients.

                The key to Thrive’s appeal with customers is an understanding of and affinity for the
                company’s mission and positive impact. Plaintiff sources natural ingredients for its line
                of skincare products from native plants grown by communities on the coasts of Costa
                Rica. Since 2014, Thrive has conducted extensive research and development in Costa
                Rican ecosystems to regeneratively cultivate and source premium botanical ingredients
                to provide its unique skincare benefits.

                Importantly, the company partners with women-led co-ops and smallholder farmers to
                cultivate native plants that improve soil and biodiversity on degraded lands, boost
                farmers’ incomes, and provide a high-quality supply of plant oils. Ultimately, Plaintiff
                hopes to serve as a commercially viable inspiration for regenerative practices in the
                agriculture, fisheries, and forestry sectors. This unique regenerative business model has
                positioned Thrive as a leader in the production of healthy, natural, and sustainable
                products.

                Plaintiff’s skincare products are sold online at www.thrivecare.co and through retail
                partnerships with Amazon and Walmart.com, as well as at Whole Foods Markets on the
                West Coast.

          B.    Company Background – Thrive Causemetics, Inc.5

                Defendant Thrive Causemetics, Inc. is a Delaware corporation based in Bellevue,
                Washington with its principal base of operations in Los Angeles, California. I
                understand that TCI was founded in 2015 by Karissa Bodnar. TCI produces, markets,
                sells and distributes a mix of cosmetics, makeup tools and skincare products, including
                cleansers, toner, face serum, eye cream, moisturizers, masks, peels, lip treatments, hand
                cream and nail cream. Defendant also offers “value sets,” which are combinations of
                various products, some of which contain cosmetics in addition to skincare products.




  4
      The source of the background information is the Complaint and thrivecare.co, unless otherwise indicated.
  5
      The source of the background information is the Complaint and thrivecausemetics.com, unless otherwise indicated.

                                                                                                     DREWS 11
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            TCI designs and tests its products in its “Thrive Causemetics Lab” located in Los
            Angeles. In addition, Defendant operates the website, www.thrivecausemetics.com,
            which sells products directly to consumers.

       C.   Description and History of the THRIVE Marks

            Plaintiff has continuously used and promoted the THRIVE Marks since at least
            September 5, 2013.6 On September 11, 2012, Thrive applied for a United States federal
            trademark registration for the word THRIVE in standard characters. In January 2014,
            Plaintiff was awarded U.S. Trademark Reg. No. 4,467,942 for THRIVE in International
            Class 003 for “Non-medicated skin care preparations, namely, facial lotions, cleansers
            and creams, creams and oils for cosmetic use, skin moisturizers; pre-shaving
            preparations; after shave lotions and creams” (the “’942 Mark”). On March 7, 2020,
            the United States Patent and Trademark Office issued a notice that the ’942 Mark is
            “incontestable.”

            In May 2016, Thrive filed for a second trademark application, U.S. Serial No.
            87/021,374 (the “’374 Application”), which issued in September 2020 as U.S.
            Trademark Reg. No. 6,164,303 for THRIVE in International Class 003 for the additional
            products of “Body and non-medicated soaps and skin cleansing gels; cosmetic sun care
            preparations and sunscreens; shaving creams and gels; pre- shaving preparations; after
            shave lotions and creams” (the “’303 Mark”).

       D.   History of Defendant’s Use of the THRIVE Marks

            I understand that Defendant started using the THRIVE Marks to market skincare
            products in 2018. Defendant’s skincare products are all covered by or within the natural
            zone of expansion of the list of goods identified in Plaintiff’s trademark registrations or
            protected by Plaintiff’s senior common law rights.

            In November 2015, the U.S. Patent & Trademark Office (“PTO”) issued an office action
            against TCI’s application to register THRIVE CAUSEMETICS, citing a likelihood of
            confusion with Thrive’s registered ’942 Mark for THRIVE on skincare products.7

            I understand that TCI eventually overcame the PTO’s objection by arguing that (1)
            THRIVE CAUSEMETICS was a unitary mark as the words were always used together,
            and (2) that the claimed goods—false eyelashes and eyeliner—were not related to
            Thrive’s claimed skincare products. I understand that TCI eventually abandoned this
            trademark application.8

            In April 2016, Ms. Bodnar contacted Thrive to ask for permission to use the word
            “Thrive” as part of TCI’s brand name. In this email, Ms. Bodnar promised that TCI




  6
    US Trademark Registration No. 4467942.
  7
    US Trademark Application No. 86721790 – November 30, 2015 Office Action.
  8
    https://tsdr.uspto.gov/#caseNumber=86721790&caseType=SERIAL_NO&searchType=statusSearch.

                                                                                        DREWS 12
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            “will never use the word ‘Thrive’ without the word ‘Causemetics’” and that the
            company’s product lines did not overlap since TCI sold only women’s color cosmetics.9

            In 2017, TCI began sometimes removing the word “Causemetics” from its branding.



                             11


            Thrive sent a cease-and-desist letter to TCI on or about March 3, 2017, demanding that
            TCI stop using the THRIVE Marks on its products.12 On or about April 12, 2017, TCI
            responded to Thrive’s request, once again insisting that there would be no confusion
            because the two companies sold “different product lines” and TCI went on to define
            Thrive’s product line as “men’s skincare” and TCI’s different, non-overlapping product
            line as “women’s makeup.”13 While Thrive disagreed as to the gendered description of
            the two product lines, it chose not to pursue the issue further based on TCI’s assurances
            that its Thrive product line was limited solely to makeup and not skincare.14

            In 2018, TCI, without any notice or warning to Thrive, began producing, marketing,
            selling and distributing a skincare product that directly overlapped with the goods listed
            in Thrive’s registered trademark. In late 2019 and 2020, TCI released several more
            skincare products.

            This happened despite TCI having prior knowledge of Thrive and its preexisting
            skincare product line, prior knowledge of Thrive’s registered trademark for THRIVE in
            relation to skincare products, and TCI’s insistence to Thrive that its use of the term
            “thrive” was solely for women’s color cosmetics.

            In June 2019, before TCI released the large majority of its skincare products, Ms. Bodnar
            again attempted to obtain Thrive’s permission to use the THRIVE Marks. On June 27,
            2019, Ms. Bodnar spoke to Alex McIntosh, Thrive’s Co-founder and CEO, by phone
            and repeatedly asked Mr. McIntosh to allow TCI to use the THRIVE Marks.15 Mr.
            McIntosh refused her request. Mr. McIntosh reminded Ms. Bodnar about Thrive’s
            existing trademark registration and trademark application. Mr. McIntosh also stated that,
            at minimum, TCI would have to agree to (1) alter its logo to deemphasize the word
            “THRIVE” so it is once again equal and consistent with the word “CAUSEMETICS,”
            and (2) agree to compensate Thrive with a significant licensing fee based on a
            percentage of TCI’s sales. I understand that TCI decided to ignore Thrive’s contentions




  9
    TCI_00019117.
  10
     TCI_00019099, TCI_00019105 and TCI_00019106.
  11
     TCI_19125, TCI_00019133, TCI_00019134 and TCI_00019156.
  12
     TNC00902 – 903.
  13
     TCI_00028581 – 28582; Interview of Alex McIntosh.
  14
     Interview of Alex McIntosh.
  15
     TCI_00028612 – 28614.

                                                                                       DREWS 13
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             and requests and released many more skincare products in the months following that
             call.16

             In online advertising, TCI adopted the tagline “Try Thrive,” as shown in the screenshot
             of a 2020 advertisement below. This tagline was used without the word “Causemetics”
             appearing anywhere on the advertisement.

                                                      Figure 1
                                                  TCI Advertisement




             In media coverage of TCI, which I understand increased significantly throughout 2018
             and 2019, the company was frequently referred to by authors and by Ms. Bodnar herself
             as “Thrive” alone, without the “Causemetics” portion of the name. For example, in a
             2019 article by Beauty Independent featuring an interview with Ms. Bodnar, she is
             referred to as the “29-year-old founder of Thrive.” During the interview, Ms. Bodnar
             repeatedly calls her company “Thrive” and refers to TCI’s followers as the “Thrive Tribe”
             several times.17

             Similarly, in January 2020 coverage of TCI by InStyle magazine, the author and Ms.
             Bodnar use the term “Thrive” by itself to describe TCI. The article contains content such
             as: “Thrive’s loyal customers, called the Thrive Tribe, are completely involved in all
             aspects of the brand.” Ms. Bodnar is quoted referring to her company as “Thrive” and
             referring repeatedly to the “Thrive Tribe.”18

             Importantly, a significant portion of the coverage of TCI that referred to it as “Thrive”
             was negative. For example, a 2018 article on the news and beauty website MirahMirah
             discussed the class action lawsuit filed against TCI for allegedly misleading customers
             about its charitable donations.19 The author refers to TCI as “Thrive” numerous times
             and questions the company’s motives and honesty.

             Online consumer reviews of TCI are also often negative and frequently refer to TCI as
             “Thrive” without the “Causemetics” descriptor. For example, TCI received a consumer


  16
     TCI_00028612 – 14; Interview of Alex McIntosh.
  17
     https://www.beautyindependent.com/thrive-causemetics-major-dtc-beauty-business/; TNC01129 – 42.
  18
     https://www.instyle.com/beauty/makeup/thrive-causemetics-karissa-bodnar; TNC01143 – 48.
  19
     TNC01100 – 14.

                                                                                               DREWS 14
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             rating of 2.7 out of five stars on bestcompany.com, with dozens of one-star reviews,
             including many from consumers who stated the products from “Thrive” were “terrible,”
             “horrible,” and caused allergic reactions and eye infections.20

             In 2018, TCI again tried to register THRIVE CAUSEMETICS in relation to cosmetics
             and makeup, makeup brushes, and an online retail store featuring those products.21 This
             time, the PTO found TCI’s mark created a likelihood of confusion with both Thrive’s
             registered ‘942 Mark and with Thrive’s previously-filed ’374 Application for THRIVE
             in relation to skincare and sun care products.22

             The PTO rejected TCI’s argument that its products were not related to those claimed in
             Thrive’s application. The trademark examiner supported the rejection with evidence
             showing “the goods and/or services listed [in Thrive’s ’942 Mark], namely [Thrive’s]
             lotions, creams and after shave lotions, and [TCI’s] cosmetics, brushes and retail store
             services featuring these goods, are of a kind that may emanate from a single source
             under a single mark.”23

             TCI now sells numerous products that are directly covered by Thrive’s registered
             trademarks, Thrive’s common law trademark rights, and their natural zone of
             expansion—including skincare products, face and body cleansers, lotions and
             moisturizers, sunscreen, hand sanitizer, and face oils. In fact, in 2020 TCI added a
             separate “skincare” section to its website displaying various skincare products for sale.24
             Examples of some of TCI’s skincare products are below.

                                                      Figure 2
                                                TCI Product Examples




  20
     https://bestcompany.com/makeup-stores/company/thrive-causemetics.
  21
     US Trademark Application No. 87895130.
  22
     US Trademark Application No. 87895130 – August 28, 2018 Office Action.
  23
     Ibid.
  24
     https://thrivecausemetics.com/collections/all-skincare.

                                                                                         DREWS 15
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              In other usage of the THRIVE Marks, TCI purchases Google AdWords and Amazon
              keywords to intentionally place ads for TCI’s skincare products at the top of search
              results seeking Thrive’s skincare products.25

              To date, there have been numerous instances of actual confusion in the marketplace
              regarding Thrive and TCI and their respective products. For example, consumers have
              posted comments on Amazon and social media indicating that they believed Thrive was
              part of or affiliated with TCI or confused the source of the products.26 This includes a
              2019 customer comment on an Amazon page for Thrive’s moisturizer stating that
              “Thrive is an up and comer in the cosmetics field. Their mascara is phenomenal.”27

              There is evidence that TCI’s actions have also created confusion among Thrive’s retail
              partners. For example, Walmart listed Thrive’s products on its online sales portal under
              the “Thrive Causemetics” label, in such a way that all of Thrive’s products appeared
              together with Thrive Causemetics’ name.28

        The following analyses are based on the aforementioned premises and, as stated above,
        assume that liability associated with the assertions in the Complaint will be established at
        trial.

  V.    TRADEMARK INFRINGEMENT REMEDIES

        In quantifying the monetary relief available to Plaintiff in connection with the alleged
        Infringing Use in this case, I first considered the general concepts of recovery provided for
        in the Lanham Act, Title 15 of the United States Code. When tasked with calculating
        monetary relief related to trademark infringement, the Lanham Act provides that an infringer
        may be liable for the following:

                 “…the plaintiff shall be entitled […], subject to the principles of equity, to
                 recover (1) defendant's profits, (2) any damages sustained by the plaintiff,
                 and (3) the costs of the action.” 29

        Lanham Act recoveries associated with historical activity are typically measured in at least
        one of three ways: (1) defendant’s profits, (2) the plaintiff’s lost profits on lost sales, or (3)
        lost profits in the form of a reasonable royalty owed to the plaintiff for the use of the assets
        by the defendant.

        I understand that, in the Ninth Circuit, the disgorgement of defendant’s profits may be
        awarded when there is a theory of unjust enrichment,30 and is recognized as “a traditional
        trademark remedy.”31 I also understand that it is not necessary to prove willfulness on the



  25
     For example, see TNC00908, TNC00909 and TNC00929.
  26
     For example, see TNC00916 – 923, TNC00924 and TNC01559.
  27
     TNC00928. Importantly, Thrive does not sell mascara, but TCI does.
  28
     TNC00930 – 931.
  29
     15 U.S.C. § 1117(a).
  30
     Lindy Pen Co. v. Bic Pen Corp., 982 F.2d 1400, 1407 (9th Cir. 1993).
  31
     Jerry’s Famous Deli, Inc. v. Papanicolaou, 383 F.3d 998, 1004-05 (9th Cir. 2004).

                                                                                          DREWS 16
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        part of the defendant when claiming disgorgement of a defendant’s profits as a damages
        theory.32

        An additional form of monetary recovery in trademark infringement matters is corrective
        advertising. The purpose of corrective advertising is to repair damage to the mark resulting
        from a defendant’s wrongful conduct. Corrective advertising typically consists of measuring
        the cost of an advertising campaign that is extensive enough to correct marketplace confusion
        and educate customers. Even in cases where an injunction has been granted and/or sales of
        the infringing products have ceased, corrective advertising is oftentimes needed to rectify any
        lingering misperceptions the target audience may have about the actual source of the relevant
        products, especially if there have been negative interactions with the infringing brand.

        The monetary relief analyses I believe to be most appropriate in this matter are the following:
        (1) Defendant’s Profits, which measures the unjust enrichment enjoyed by Defendant as a
        result of its use of the THRIVE Marks, and to some extent is a proxy for Plaintiff’s lost sales,
        profits and expansion opportunities. It also provides an effective deterrent against
        infringement by the Defendant and others; (2) a Reasonable Royalty, which provides an
        estimate of fair market compensation owed to Plaintiff for the Infringing Use of a confusingly
        similar trademark by the Defendant; and (3) Corrective Advertising, which measures the
        estimated expenditures necessary to inform and educate actual and potential customers that
        are misinformed about the true source of the products bearing the THRIVE Marks. The
        following sections describe the analyses performed in assessing and determining damages
        and appropriate monetary recovery in this case.

        A.    Defendant’s Profits Analysis

              A Defendant’s Profits analysis measures the alleged damages resulting from
              infringement or misappropriation of the subject intellectual property by calculating the
              associated benefits received by the infringer. When measuring the revenue in a
              defendant’s profits analysis, it includes those sales where a nexus between the infringing
              activity and the revenue received can be proved. This analysis uses the actual/estimated
              revenue generated by Defendant from sales of accused products featuring the use of the
              THRIVE Marks during the Damages Period. It is important to note that any estimates
              of revenue utilized in this analysis were provided by Defendant based on their internal
              operating procedures, so they have been accepted as accurate for these purposes.33

              Defendant has produced a purportedly complete summary of its net revenue achieved in
              conjunction with the use of the THRIVE Marks on skincare products.34




  32
     Romag Fasteners, Inc. v. Fossil Group, Inc., No. 18-1233, Slip Op. (S. Ct. April 23, 2020).
  33
     Deposition of Ned A. Menninger dated May 27, 2021 (“Menninger Depo”), 69:09 – 70:17.
  34
     TCI_00030182 – 30184.
  35
     Menninger Depo, 48:19 – 22.

                                                                                                   DREWS 17
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                                                  the proper measurement of Defendant’s profits is
                incremental profits. This is because relatively few additional general or administrative
                expenses need be incurred to generate these incremental sales.

                TCI_00030182 – 30184 provide information on the purported cost of goods sold for the
                accused products, along with cost information for related advertising, merchant fees and
                Shopify commissions. These relevant deductions total                     for the period
                         38
                reported. Total incremental profits during the Damages Period thus far are therefore
                             Please see Schedules 1, 2 and 3 for additional information.

          B.    Reasonable Royalty Analysis

                A reasonable royalty analysis calculates the damages by measuring the fair market
                royalties that should have been paid to Plaintiff for the unauthorized use of the THRIVE
                Marks by the Defendant. The underlying basis for the measurement is that a license to
                use the THRIVE Marks had hypothetically been negotiated prior to the infringement
                taking place.

                Some courts only allow for damages based on a reasonable royalty in trademark
                infringement matters if the plaintiff has demonstrated a willingness to license the mark.
                I note that there has been a conversation about TCI licensing the THRIVE Marks from
                Thrive between Ms. Bodnar and Mr. McIntosh.39 I understand that these discussions
                were never successfully concluded. However, they do demonstrate a willingness on the
                part of Thrive to consider licensing the THRIVE Marks.

                In this instance, a hypothetical negotiation between the two parties is analyzed to
                determine the correct level of royalty-based compensation due Plaintiff. Thus, a critical
                element of this damages approach is the selection of an appropriate royalty rate to apply
                to the relevant royalty base in order to project the royalty income that Plaintiff should
                have received.

                1. Georgia-Pacific Analysis

                    The determination of an appropriate royalty rate is based on a hypothetical
                    negotiation between the parties, commonly referred to as a Georgia-Pacific




  36
       Menninger Depo, 45:21 – 46:2.
  37
       According to TCI_00014424 and TCI_00022753 – 22767,



  38
       TCI_00030182 – 30184.
  39
       For example, see TCI_00028613.

                                                                                          DREWS 18
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                 analysis.40 The goal is to duplicate the results of an arm’s-length agreement between
                 a willing licensor and a willing licensee on the eve of the infringement. A major
                 component of the hypothetical license is that its scope and parameters must mirror
                 the actual use of the asset by the defendant.

                 While this technique was initially used to determine reasonable royalty rates
                 associated with patent infringement, there are numerous elements that can be
                 brought to bear on copyright and trademark infringement matters as well.

                 The key to an accurate analysis when employing the 15 Georgia-Pacific factors is
                 to acknowledge and utilize all of the factors that are relevant and assess them
                 properly. I have conducted this analysis as of July 2018, the month and year in
                 which the Defendant began using the THRIVE Marks in commerce on the accused
                 skincare products.41 Given the stature of the Defendant at the time of the negotiation,
                 the analysis assumes an understanding among the parties that significant sales would
                 be forthcoming over the next few years.

                 The factors are assessed as to whether they favor the position of the licensor or the
                 licensee in the hypothetical negotiation, and therefore support the conclusion of a
                 higher or lower royalty rate, respectively, all other factors being equal.

                      Georgia-Pacific Factor 1 – Royalties Received by the Licensor (Plaintiff)

                 I understand that Plaintiff has not entered into any trademark license agreements,
                 including any associated with its THRIVE Marks. I also understand that Plaintiff
                 has entertained potential licenses in the past and was specifically open to licensing
                 the THRIVE Marks to TCI,42 so a license for the THRIVE Marks is not out of the
                 question. Without any relevant information to analyze, this factor does not provide
                 any guidance on the negotiated royalty rate and is therefore scored as neutral in terms
                 of whether it favors the licensor or licensee in the negotiation.

                      Georgia-Pacific Factor 2 – Royalties Paid by the Licensee (Defendants)

                 I understand that Defendant has not produced any license agreements in this
                 litigation, including any in which they are the licensee. Based on the evidence,
                 Defendant has not been involved in any trademark licenses. However, it did request
                 that Thrive license the marks to it, so TCI was admittedly open to licensing the
                 THRIVE Marks. Without additional information from the Defendant regarding any
                 licensing activities and negotiated results, this factor is also scored as neutral.




  40
     Georgia-Pacific Corp. v. U.S. Plywood-Champion Papers, Inc., 446 F.2d 295, 170, 170 U.S.P.Q. 369 (2d Cir.
     1971).
  41
     TCI_00026950 – 26955; TCI_00014424; TCI_00022753 – 22767.
  42
     TCI_00028612 – 28614.

                                                                                              DREWS 19
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                        Georgia-Pacific Factor 3 – Nature and Scope of the License

                   The nature and scope of the hypothetical license is for the broad right to use the
                   THRIVE Marks in North America in conjunction with Defendant’s skincare
                   products in a wide variety of distribution channels including e-commerce, direct to
                   consumer, wholesale and retail. It covers the timeframe encompassed within the
                   Damages Period and, since the Defendant unilaterally determined how to use the
                   THRIVE Marks, allows for maximum flexibility regarding how the licensee uses
                   the mark and the products that are covered. Moreover, the Defendant did not have
                   to pay any guaranteed minimum or up-front license fee. All of these factors will
                   result in a higher royalty rate.

                   The only factor trending towards a lower licensing fee is that the license would be
                   non-exclusive. All other aspects being the same, a non-exclusive license will
                   generally feature a lower level of compensation than an exclusive license since an
                   exclusive license limits the licensor’s ability to exploit the asset. However, the
                   enhanced flexibility afforded the licensee in this situation would tend to entail
                   additional compensation and offset any discount associated with the hypothetical
                   license being non-exclusive. In addition, while a hypothetical license would be non-
                   exclusive, Thrive never actually licensed its marks to any other third party during
                   the relevant time period. Overall, this factor favors the licensor in terms of its impact
                   on a negotiated royalty rate for the THRIVE Marks.

                        Georgia-Pacific Factor 4 – Licensor's Established Policy

                   While there is no established licensing policy in place for Plaintiff, I understand that
                   Plaintiff summarily rejected Defendant’s initial licensing offer in 2019,43 and made
                   high opening offers of licensing the THRIVE Marks at a 20.0% royalty rate when
                   discussing licensing with third parties. 44 These actions demonstrate that Plaintiff
                   knows the value of licensing its trademark and, though the standard in a Georgia-
                   Pacific analysis is for a willing licensor, would be unlikely to take an offer on the
                   low end of the spectrum.

                   Defendant similarly has no established policy or experience with negotiating license
                   agreements, so the impact of Plaintiff’s lack of experience or policy is
                   correspondingly offset by Defendants’ equal lack of experience or policy. Overall,
                   the impact of this factor in the analysis is neutral and its relevance is relatively low.




  43
     TCI apparently offered to Thrive a licensing fee consisting solely of donating several thousand dollars to Thrive’s
     charity of choice. Interview of Alex McIntosh.
  44
     See, e.g., TNC01595 – 1597.

                                                                                                      DREWS 20
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                 Georgia-Pacific Factor 5 – Commercial Relationship between Licensor and
                 Licensee

             Plaintiff and Defendant are direct competitors in the skincare products industry,
             including an overlapping presence throughout the United States. Being direct
             competitors indicates that Plaintiff would have had the stronger negotiating position.

             An important aspect of their being direct competitors is that, had Plaintiff entered
             into a license with Defendant allowing Defendant to sell its competing skincare
             products, Plaintiff would have known that it would lead to the cannibalization of
             Plaintiff’s own products, a situation that supports a higher royalty rate to compensate
             for those losses.

             Further, it is clear from the timeline of events, particularly the 2016 email from Ms.
             Bodnar to Thrive in which Ms. Bodnar repeatedly requested permission to use the
             THRIVE Marks, that TCI would have known at the time of the hypothetical
             negotiation that obtaining a license to use Thrive’s trademarks was critical to TCI’s
             business and expansion into skincare.

             As the holder of the THRIVE Marks, Thrive was the only entity from whom TCI
             could have obtained this license, which would be necessary for TCI to transition its
             “Thrive” brand name from makeup into skincare. Thrive knew this because of TCI’s
             outreach and prior contact in 2016, in addition to the USPTO’s rejections of TCI’s
             trademark applications. This additional aspect underscores the strength of Thrive’s
             negotiating position and supports a higher royalty rate in the hypothetical
             negotiation, as TCI could not sell its skincare products under its established “Thrive
             Causemetics” brand without getting the license from Thrive.

             While Defendant was larger than Plaintiff at the time of the hypothetical negotiation,
             the size differential was not nearly as large as it is at the time of this writing and thus
             would not have been as significant in determining a royalty rate. The most important
             aspect of the commercial relationship between the parties is that the THRIVE Marks
             are the key to the Defendant’s brand name, website, marketing activities and
             ecommerce platforms and therefore Defendant would be extremely motivated to
             procure this license. This factor is important and argues for a significantly higher
             royalty rate with a high rate of relevance.

                 Georgia-Pacific Factor 6 – Convoyed Sales

             Convoyed sales in this instance include sales of additional products and services
             beyond those associated with the Infringing Use. While TCI does sell other products
             under the “Thrive Causemetics” brand name, I understand that these products are
             either outside the scope of products covered by Plaintiff’s trademark registrations or
             are not being accused in this matter.

             However, I note that at the time of the hypothetical negotiation in 2018, Thrive had
             recently sent TCI a cease-and-desist letter in 2017 requesting that TCI cease use of
             the “Thrive” name on its cosmetics products and, in 2016, Mr. McIntosh had refused


                                                                                        DREWS 21
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                   to grant Ms. Bodnar’s request for explicit permission to use the THRIVE Marks on
                   color cosmetics. Therefore, in light of these facts, Defendant would likely have been
                   even more motivated to enter into a license to protect its entire series of product lines
                   and to be able to use its company brand in any fashion relating to cosmetics and
                   skincare products. Therefore, this factor favors the licensor, although the level of
                   relevance is lower than for other factors.

                       Georgia-Pacific Factor 7 – Duration of IP / License

                   Because there are no expiration dates for trademarks that are continuously used in
                   commerce and that have all registration fees kept current, the duration of the
                   hypothetical license could last for several years. However, I understand that the
                   Infringing Use so far is approximately three years, which is compatible with the
                   initial term of many of the comparable agreements I have reviewed. Also, many of
                   the comparable agreements I have reviewed provide for a renewal of the existing
                   compensation terms for several more years beyond any initial term.

                   Oftentimes, relatively long license agreements will feature higher compensation
                   than otherwise since the terms are in place for a longer period of time and therefore
                   the licensor has less flexibility in terms of negotiating its rights. In any event, this
                   factor is neutral regarding its effect on the hypothetical royalty rate.

                       Georgia-Pacific Factor 8 – Commercial Success / Profitability of the Product

                   The commercial success of Defendant’s skincare products that feature the THRIVE
                   Marks is substantial. During a relatively short period of time, the products have
                   generated over               of net sales. The profitability of the products is also
                   significant, with a demonstrated incremental profit margin of        .45

                   Plaintiff has also demonstrated success using the THRIVE Marks, showing
                   significant sales growth every year since its founding. 46 Due to the commercial
                   success of both operations and the demonstrated profitability of Defendant in regard
                   to these products, Factor 8 is highly relevant and clearly argues for a relatively high
                   royalty rate.

                       Georgia-Pacific Factors 9 & 10 – Asset Utility / Nature of the IP

                   When assessing the Georgia-Pacific factors for trademarks, Factors 9 and 10 are
                   often assessed together. The utility/nature of a trademark is to denote the source of
                   products and to convey information regarding the reputation and characteristics of
                   the associated brand. The THRIVE Marks are no different in that they carry the
                   goodwill associated with Plaintiff’s positive reputation and good standing in the
                   industry. In addition, they are used to brand the sustainable farming and regenerative




  45
       TCI_00030182 – 30184.
  46
       TNC01282 – 01299.

                                                                                            DREWS 22
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                  formulas that are the primary differentiators of Plaintiff’s THRIVE-branded
                  products.47

                  In this situation, Plaintiff’s goodwill has been drowned out by the much larger
                  Defendant and its ability to secure important keyword search terms and command
                  attention in the skincare industry. The trademark should indicate the source and
                  consistency of characteristics and quality control of the goods. In this scenario, the
                  ability of the THRIVE Marks to perform this vital function in regard to Thrive has
                  been curtailed. Thus, these factors indicate that a higher royalty rate would be
                  negotiated. This would compensate Plaintiff for the reduced or eliminated efficacy
                  of its trademarks regarding their ability to indicate the source of the products
                  featuring their use. This factor is also highly relevant.

                       Georgia-Pacific Factor 11 – Extent of Use by Infringer

                  The Infringing Use by the Defendant is extensive. The THRIVE Marks have been
                  included as the primary aspect of its branding (see Figures 1 and 2 above) and
                  Defendant often refers to itself as “Thrive” and is referred to as “Thrive” by others.
                  As mentioned above, it is the key aspect of the Defendant’s brand name, website,
                  marketing activities and ecommerce platforms.

                  In addition, Defendant has been prolific in its social media and keyword advertising.

                                                                                  According to Defendant’s
                  data, it has spent over                    advertising its skincare products from 2018 to
                  May 2021.48

                  In addition, the broad extent of Defendant’s use of the THRIVE Marks is anecdotally
                  evidenced by the fact that, since I have been researching this project, virtually every
                  banner ad on websites and every bumper ad on YouTube videos I have received has
                  been for TCI’s THRIVE Marks-branded merchandise, even for topics or websites
                  that have nothing to do with skincare or cosmetics. In light of the extensive use, a
                  higher royalty rate is appropriate, and this factor is highly relevant.

                       Georgia-Pacific Factor 12 – Portion of Profit that is Customary / Marketplace
                       Royalty Rates

                  This factor is not scored as favoring one party or the other. Rather, it informs the
                  negotiation by providing relevant royalty rate data.

                  As was discussed for Factors 1 and 2 above, there have been no trademark license
                  agreements produced by either party in this matter. Through independent research
                  on trademark license agreements in the skincare products industry, I uncovered
                  12 license agreements that are relevant.49 In my analysis, I endeavored to include


  47
     Thrivecare.co.
  48
     TCI_00030182 – 30184.
  49
     Please see Schedule 5 for a summary of the terms for these agreements.

                                                                                             DREWS 23
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             agreements that cover similar products, similar geographies and a similar timeframe
             to the facts of this hypothetical license. I also excluded license agreements that
             licensed other intellectual property in addition to any trademarks, such as patents,
             trade secrets or know-how. Agreements with multiple categories of licensed assets
             tend to have higher royalty rates than those focused on only one asset class, all other
             aspects being the same.

             It is important to note that comparable license agreements that feature terms that are
             different from the circumstances associated with the hypothetical negotiation may
             still be instructive for this analysis as long as appropriate adjustments to the royalty
             rate that account for the differences are considered and applied. Indeed, it is virtually
             impossible to find a comparable license agreement that perfectly mirrors every
             single term and circumstance as those found in the hypothetical negotiation.
             Therefore, the terms found in similar agreements are utilized to help determine the
             royalty rate applicable to the hypothetically negotiated agreement. Examples of
             differences that may require an adjustment to the royalty rate include timeframe,
             geography, duration, scope of covered products and distribution channels.

             A few of the licenses are included simply because they provide additional guidance
             on the level of trademark royalty rates associated with skincare
             products. Since certain aspects of these licenses do not directly mirror the fact set
             in this case, such as celebrity endorser licensors or relatively well-known consumer
             brands, those agreements are given less weight in the analysis, although they do
             provide information regarding the full spectrum of royalty rates applicable to
             trademarks associated with these kinds of products.

             With two exceptions, the royalty rates in these agreements are all based on a
             percentage of net sales, ranging from 3.00% to 10.00%. The agreements with a
             royalty base of gross sales are within the overall range of relevant royalty rates, so
             no adjustment is necessary for that aspect. The mean royalty rate for all of the
             agreements is 5.63% and the median is 5.00%. Indeed, most of the agreements
             feature royalty rates at the 5.00% level. Several of the agreements also include
             significant guaranteed minimum royalty payments, a form of compensation that
             would be difficult to incorporate into the terms of this hypothetical license, but
             which also tends to reduce the level of the ongoing royalty rate, an aspect that should
             also be taken into account.

             The dates when the comparable agreements were first established range from 1996
             to 2020. The agreements from the 1990s have similar royalty rates to those
             negotiated more recently, indicating that royalty rates in this industry have remained
             relatively stable over the years. As a result, there is no need to adjust any of the
             agreement terms simply because their date of negotiation is further away from the
             July 2018 hypothetical negotiation date in this situation.

             In terms of geographies, all of the agreements cover the United States, with nine of
             them having expanded territories beyond the US. There is no indication that
             expanded geographies lead to different relative royalty rates, so again no adjustment
             is necessary.

                                                                                      DREWS 24
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                  It is interesting to note that many of the agreements have limitations on the channels
                  of distribution that may be pursued, which would be consistent with TCI’s
                  expectation of significant revenue flow from higher end stores such as Sephora and
                  luxury retail outlets, which apparently were a key focus for TCI early on.50 There is
                  no discernible pattern that restricted distribution channels or a lack thereof are
                  associated with higher or lower royalty rates so no adjustment for this aspect is
                  necessary.

                  With one exception, most of the comparable agreements are exclusive in nature. The
                  one exception is the TOMMY BAHAMA agreement, which is the highest royalty
                  rate among the comparable agreements, even though it is non-exclusive.51 As stated
                  above in GP Factor 3, the non-exclusive aspect of the hypothetical agreement is
                  taken into account in the analysis.

                  Many of the agreements have royalty rates in the 5.00% to 6.00% range. These
                  licenses are for the use of trademarks such as LIFEGUARD, INTERLUDE,
                  MEMBERS ONLY, BABYGUND, I’M1 and TIKUN PHARMA, among others.
                  These agreements exhibit the full range of dates, geographies and distribution
                  channel restrictions (or lack thereof) found in the comparable agreements, with none
                  of them being significantly more relevant than the others.

                  The highest rates in the comparable agreements are 7.00%, 8.00% and 10.00%. I
                  have already touched on the 10.00% agreement, which is the TOMMY BAHAMA
                  agreement. Tommy Bahama is a medium-sized casual lifestyle brand that is not
                  known for its association with skincare or personal beauty products. 52 Tommy
                  Bahama does not appear to be recognized as a particularly famous clothing brand as
                  it does not appear on any top lists.53 The TOMMY BAHAMA agreement was not
                  exclusive, the licensor is not a top 100 leading clothing brand, had no association
                  with skincare and beauty products, and the license would not have cannibalized any
                  of Tommy Bahama’s own sales, all factors that would lead to a lower royalty rate.
                  Despite those facts, Tommy Bahama was still able to obtain a 10.00% net royalty
                  license.

                  An agreement that obligates the licensee to pay 7.00% of net sales for the use of
                  marks is associated with Mario Lopez, a television actor and celebrity.54 While this
                  agreement helps illustrate the full range of royalty rates associated with skincare



  50
     TCI_00019116.
  51
     Royalty Range agreement no. RR20201006T04302.
  52
     https://en.wikipedia.org/wiki/Tommy_Bahama; https://www.tommybahama.com/.
  53
     See, e.g., https://fashionunited.com/i/most-valuable-fashion-brands/ (listing top 100 clothing brands, without
     Tommy Bahama appearing anywhere on the list); https://today.yougov.com/ratings/consumer/popularity/clothing-
     footwear-brands/all (listing top 179 clothing brands, without Tommy Bahama appearing anywhere on the list);
     https://businessnes.com/top-100-luxury-fashion-brands-list/ (listing top 100 luxury fashion brands, without Tommy
     Bahama appearing anywhere on the list).
  54
     Royalty Range agreement no. RR20180416T00901; https://www.epollresearch.com/marketing/E-Score_Celebrity_
     Special_Report_Q3-2009-12-08-02-sl.pdf; https://today.yougov.com/topics/entertainment/explore/tv_personality/
     Mario_Lopez.

                                                                                                     DREWS 25
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                   products, I give it somewhat less weight in the analysis due to its association with a
                   celebrity persona.

                   The third agreement, with an 8.00% rate, grants a license to the KATHY HILTON
                   mark for skincare products, Kathy Hilton being a socialite and philanthropist.55 As
                   stated above, this license sets 3.00% and 4.00% royalty rates for sales made through
                   infomercials (the 4.00% rate takes effect when certain performance metrics are
                   met). 56 The 3.00% royalty rate is the lowest among any of the comparable
                   agreements.

                   More importantly, however, this agreement set an 8.00% royalty rate that was
                   applicable to all other channels of distribution, including retail, wholesale, website,
                   multi-level marketing, television shopping networks and “any other channel of
                   distribution.” 57 It is clear that the infomercial channel of distribution is not
                   applicable to this hypothetical negotiation. Therefore, the relevant royalty rate in
                   this agreement for the purposes of this analysis is 8.00%. While Ms. Hilton’s minor
                   celebrity status may warrant a slight reduction in the weight given to this agreement
                   as to the marks being licensed, this agreement appears to be among the most
                   comparable in terms of products and sales channels.

                   In my view, any enhancement to the royalty rates in the three licenses discussed
                   above that was due to the fame or celebrity of those brands would be equivalent to,
                   or exceeded by, the importance to TCI of obtaining the license from Thrive for the
                   THRIVE Marks, as discussed above in GP Factor 5. While Tommy Bahama as a
                   brand and Mario Lopez and Kathy Hilton as individuals may command a slightly
                   higher rate due to their public recognition, none of their licenses were to competitors
                   that needed to obtain the license in order to continue using their primary brand name
                   on skincare products. Nonetheless, those licensors were still able to negotiate
                   royalty rates ranging from 7.00 to 10.00%.

                   In general, the comparable agreements show that trademark royalty rates in this
                   industry range from 3.00% to 10.00% and the agreements that are most comparable
                   to the hypothetical negotiation indicate that royalty rates in the 5.00% to 8.00%
                   range are applicable.

                       Georgia-Pacific Factor 13 – Relative Contribution

                   The hypothetical THRIVE Marks license broadly covers the standard character
                   marks, meaning use of the word “THRIVE” in any font, format, or logo. 58 While
                   Defendant’s products use a logo and trade dress that are different from Plaintiff’s




  55
     https://en.wikipedia.org/wiki/Kathy_Hilton.
  56
     KtMine Agreement no. 13423.
  57
     KtMine Agreement #13423, page 1.
  58
     Pom Wonderful LLC v. Hubbard, 775 F.3d 1118, 1125 (9th Cir. 2014) (“Therefore, Pom Wonderful’s exclusive
     right to use its ‘POM’ standard character mark is extremely broad, covering the word in all types of depictions.”).

                                                                                                      DREWS 26
Case 2:20-cv-09091-PA-AS Document 33-3 Filed 08/06/21 Page 32 of 57 Page ID #:507




                   logo and trade dress, that is of less importance here since the trademark covers the
                   word “THRIVE” in all types of depictions for skincare products.

                   The THRIVE Marks are a significant part of Defendant’s brand name and are vitally
                   important aspects of its website, marketing activities and ecommerce platforms.
                   Without the THRIVE Marks, TCI would have had to create an entirely new brand
                   identity, website, and marketing strategy divorced from its makeup line. 59 The
                   relative contribution of the THRIVE Marks to Defendant’s operation is paramount.
                   Therefore, this factor should be scored as highly relevant and as significantly
                   favoring the licensor under these circumstances.

                       Georgia-Pacific Factor 14 – Qualified Expert Opinions

                   To my knowledge, no other expert opinions have yet been offered in this matter. I
                   am also not aware of any relevant expert opinions outside of this case that may have
                   any bearing on the royalty rate conclusion. This factor is therefore neutral in the
                   instant analysis and has a low level of relevance.

                       Georgia-Pacific Factor 15 – Hypothetical Negotiation

                   The outcome of a hypothetical negotiation concluding in July 2018 is fundamental
                   to the reasonable royalty analysis and calculations presented herein. A larger
                   number of the GP factors in the hypothetical negotiation were deemed to favor the
                   licensor over the licensee.

                   Of those factors favoring the licensor, the strongest arguments reside in the fact that
                   the Infringing Use is very extensive (Factor 11), the benefits encompassed within
                   Plaintiff’s THRIVE Marks were a key component of Defendant’s operation at the
                   time of the hypothetical negotiation (Factor 13), the fact of direct competition
                   between the Plaintiff and Defendant (Factor 5) and that operations related to the use
                   of the THRIVE Marks have been very successful (Factor 8).

                   Other factors that weighed in the licensor’s favor include the fact that the licensor
                   should be compensated for any loss of control over the THRIVE Marks (Factor 10)
                   and the significant degree of flexibility regarding Defendant’s use of the THRIVE
                   Marks necessarily encompassed within the hypothetical license (Factor 3 – the
                   license must encompass the Infringing Use).

                   Finally, the nature and utility of the asset is central to the trademark license (Factors
                   9 and 10) which, given the foundational assumption that liability will be established
                   at trial, is a necessity in this situation. All of these arguments would be front and
                   center during the hypothetical negotiation, and difficult for the licensee to dismiss.

                   On the other hand, there is one aspect that favors the licensee: its larger size in
                   comparison to the Plaintiff (Factor 5).



  59
       For example, TCI_00019105, TCI_00019106 and TCI_00019125 – 19134.

                                                                                            DREWS 27
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                   Of the six factors (other than this Factor 15) that were considered highly relevant in
                   terms of their impact on whether the hypothetical negotiation results in a higher or
                   lower relative royalty rate, including several given significant weight in this analysis,
                   all six favor the licensor and none favor the licensee.

                   Under the facts of this case—where TCI knew of the THRIVE Marks, TCI knew it
                   needed to obtain a license as shown by Ms. Bodnar’s repeated contacts, and Thrive
                   knew it had the upper hand in negotiations because of its registered trademarks, as
                   it demonstrated with its 2017 cease and desist letter to TCI—a relatively high royalty
                   rate would be appropriate here. What the THRIVE Marks may lack in fame would
                   have been more than made up for by the critical nature of this license to TCI’s
                   business. The sum total of the Georgia-Pacific analysis is that a reasonable royalty
                   rate for the Infringing Use would likely be at the upper end of the range of royalty
                   rates found in the comparable agreements for trademarks licensed for use with
                   similar products. In keeping with the results of the Georgia-Pacific analysis, the
                   comparable agreements and the facts of this case, the appropriate royalty rate is
                   determined to be % of Net Sales. Please see Schedules 4 and 5 of this report for
                   additional information.

               2. Royalty Base

                   The next step is to isolate the royalty base that the royalty rate is applied against,
                   which necessarily must be associated with Defendants’ use of the THRIVE Marks.
                   A key factor to consider is that the available evidence indicates that the royalty rates
                   in this industry are typically applied against net sales.

                   Defendant’s THRIVE Marks-related skincare product net sales are $
                   through May 31, 2021.60 Again, the instant presentation of damages is based upon
                   the best information available and may be amended as additional information is
                   provided.

               3. Reasonable Royalty Conclusion

                   Applying the concluded royalty rate to the relevant royalty base identified above
                   leads to a conclusion of               in reasonable royalty damages. Please see
                   Schedules 4, 5 and 6 for additional information.

               It is important to note that the Georgia-Pacific factor analysis is simply a tool used to
               fine-tune the results of a hypothetical negotiation between the parties, including
               structure, timeframe, relevant products and similar items. The most relevant and
               important data in this exercise are the royalty rates found in the comparable agreements.
               Even if the Georgia-Pacific Factor construct had not been utilized in this analysis, the
               royalty rate conclusions would have remained the same based strictly on the comparable
               agreement data.




  60
       TCI_00030182 – 30184.

                                                                                            DREWS 28
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       C.    Corrective Advertising Analysis

             The prospective advertising expenditures necessary to correct any inaccurate
             impressions in the marketplace regarding ownership, authorization and relationships
             surrounding specific intellectual property are oftentimes used as a method to measure
             potential future or incremental damages associated with intellectual property
             infringement and unfair competition. Prospective corrective advertising damages have
             been defined as the amount the Plaintiff would be required to spend in the future to
             dispel the confusion caused by the Defendant’s infringement.61

             The Defendant’s advertising and marketing efforts as summarized and quantified in
             TCI_00030182 – 30184 are directly associated with the THRIVE Marks. The following
             factors provide the context within which the need for corrective advertising should be
             analyzed:

                 •




                                                                   62


                 •   To counteract the impact of the Defendant’s marketing efforts, the
                     corrective advertising should ideally encompass the same kind of
                     advertising and marketing efforts employed by the Defendant. Therefore,
                     the corrective advertising should include the cost associated with pursuing
                     all of the elements listed above in similar quantities and qualities.

                 •



                                                                        63


             An important consideration in the calculation of appropriate prospective corrective
             advertising damages is the geographic scope of sales and advertising of the plaintiff in
             relation to that of the defendant. In this case, I understand that both parties market and
             sell their skincare products across the United States, so no adjustment is necessary based
             on geographical differences.

             It is my understanding that courts typically award only a percentage of the advertising
             expenditures associated with the infringement of the plaintiff's mark. This is because


  61
     American Farm Bureau Federation v. Alabama Farmers Federation, et al., 935 F. Supp. 1533 – USDC, M.D.
     Alabama, 11th Circuit (1996).
  62
     For example, TCI_00019125.
  63
     TCI_00030182 – 30184.

                                                                                          DREWS 29
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                 past marketing activities are believed to not have a continuing impact on consumers
                 after a considerable passage of time. Even though some studies suggest that correcting
                 misinformation may require an increase in advertising over the amount of advertising
                 that led to the misinformation, I understand that many courts have acknowledged the
                 Federal Trade Commission's rule requiring businesses who engage in misleading
                 advertising to spend 25% of their accused advertising budget on corrective advertising,
                 which is consistent with accepted Ninth Circuit methodology for corrective
                 advertising.64

                 Based on the adjusted advertising expenditures, the amount of prospective corrective
                 advertising damages is            , after applying the FTC’s 25% corrective advertising
                 rule discussed above. Please see Schedule 7 for additional information.

           D.    Hybrid Skincare Products

                 The damages analysis and calculations above include two of Defendant’s products,
                 Buildable Blur CC Cream and Filtered Effects Blurring Primer, that can be described as
                 hybrids between makeup and skincare products. According to the material I have read
                 from TCI’s advertising and website, TCI often describes its Buildable Blur CC Cream
                 and Filtered Effects Blurring Primer products as skincare products that provide skincare
                 benefits, and other times as hybrid makeup-and-skincare products. For the purposes of
                 this analysis, it does not matter whether these two products are solely skincare products
                 or if they are hybrid makeup-and-skincare products that provide some makeup-related
                 benefit; either way the damages analysis for Reasonable Royalty, Defendant’s Profits,
                 and Corrective Advertising applies the same.

                 However, if Buildable Blur CC Cream and Filtered Effects Blurring Primer were to be
                 excluded from my calculations, the total applicable damages would be as follows: (1)
                 Defendant’s Profits in the amount of               ; (2) Reasonable Royalty in the amount
                                                                                                        65
                 of             and (3) Corrective Advertising damages in the amount of
                 I provide these calculations to establish the correct amount of damages in the event the
                 finder of fact were to determine these hybrid products are not included in the set of
                 infringing products. I have also broken these products out separately in the attached
                 schedules.

 VI.       CONCLUSIONS

           Upon reviewing the documentation listed in Appendix B, and informed by my experience in
           valuing intellectual property and calculating intellectual property related damages, I have
           arrived at the following opinions in this matter, the bases for which are explained in the
           previous sections of this report:




  64
       For example, Adray CBS v. Adry-Mart, Inc., 68 F.3d 362 (9th Cir. 1995), footnote 3.
  65
       As of the date of this Report, TCI has not yet provided its sales data for Filtered Effects Blurring Primer. Therefore,
       that information has not been included in any of my damages calculations. I will include it in a supplemental report
       after it is provided.

                                                                                                            DREWS 30
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      1.   The amount of historical damages suffered by Plaintiff due to the actions of the
           Defendant is calculated using an analysis of the Defendant’s profits as well as a
           reasonable royalty derived from a hypothetical negotiation between Plaintiff and
           Defendant. The damages measured using the Defendant’s Profits analysis are
           determined to be                 Please see Schedules 1, 2 and 3 for additional
           information.

      2.   Based on an analysis of relevant licensing information and the application of a modified
           Georgia-Pacific analysis, a reasonable royalty rate for the right to use the THRIVE
           Marks in association with various skincare products and hybrid skincare products is
           determined to be     % of Defendant’s Net Sales. Please see Schedules 4 and 5 for
           additional information.

      3.   Applying the concluded royalty rate to the Defendant’s applicable royalty base leads to
           a conclusion of             in Reasonable Royalty damages. Please see Schedules 4, 5
           and 6 for additional information.

      4.   The prospective advertising expenditures necessary to correct inaccurate impressions in
           the marketplace regarding the ownership, authorization and relationships surrounding
           the THRIVE Marks are calculated to be                   . Please see Schedule 7 for
           additional information.

      The foregoing conclusions are based upon the documents and information reviewed as of the
      date of this report, as well as my educational background and experience in valuing
      intellectual property and intangible assets. As stated above, any damages conclusions
      proffered do not include calculations of pre- or post-judgment interest or enhanced damages.
      I am available to perform these calculations should the Finder of Fact deem them appropriate.

      I hold these opinions with a reasonable degree of professional certainty. I hereby reserve the
      right to amend these conclusions should additional information and/or documents become
      available for review and consideration.

      Sincerely,




       David Drews
       President, IPmetrics LLC




                                                                                     DREWS 31
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                               SCHEDULES




                                                                   DREWS 32
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                                    Schedule 1




TNC v. TCI                          CONFIDENTIAL                     Damages Summary
Damages Analysis            Expert Report of David Drews, CLP       DREWS
                                                                        July33
                                                                             5, 2021
                                             Case 2:20-cv-09091-PA-AS Document 33-3 Filed 08/06/21 Page 39 of 57 Page ID #:514
                                                                                        Schedule 2




      Sources / Notes:
      TCI_00030182 - 30184.
  [1] 2021 revenue and expenses are through May 31, 2021.




Thrive Natural Care v Thrive Causemetics
Damages Analysis
                                                                                      CONFIDENTIAL
                                                                              Expert Report of David Drews, CLP                  DREWS 34Defendant's Profits
                                                                                                                                               July 5, 2021
                                             Case 2:20-cv-09091-PA-AS Document 33-3 Filed 08/06/21 Page 40 of 57 Page ID #:515
                                                                                        Schedule 3




      Sources / Notes:
      TCI_00030182 - 30184.
  [1] 2021 revenue and expenses are through May 31, 2021.




Thrive Natural Care v Thrive Causemetics
Damages Analysis
                                                                                      CONFIDENTIAL
                                                                              Expert Report of David Drews, CLP                  DREWS 35
                                                                                                                                       DP Hybrid Products
                                                                                                                                             July 5, 2021
                        Case 2:20-cv-09091-PA-AS Document 33-3 Filed 08/06/21 Page 41 of 57 Page ID #:516
                                                               Schedule 4




Thrive Natural Care v. Thrive Causemetics                    CONFIDENTIAL                                     GP Factor Summary
Damages Analysis                                     Expert Report of David Drews, CLP                      DREWSJuly
                                                                                                                   36 5, 2021
                                 Case 2:20-cv-09091-PA-AS Document 33-3 Filed 08/06/21 Page 42 of 57 Page ID #:517
                                                                           Schedule 5




                                                                                                                     DREWS 37
Thrive Natural Care v Thrive Causemetics                                 CONFIDENTIAL                                   Comparable Royalty Rates
Damages Analysis                                                 Expert Report of David Drews, CLP                          July 5, 2021
                                 Case 2:20-cv-09091-PA-AS Document 33-3 Filed 08/06/21 Page 43 of 57 Page ID #:518
                                                                        Schedule 5 (cont.)




                                                                                                                     DREWS 38
Thrive Natural Care v Thrive Causemetics                                 CONFIDENTIAL                                   Comparable Royalty Rates
Damages Analysis                                                 Expert Report of David Drews, CLP                          July 5, 2021
 Case 2:20-cv-09091-PA-AS Document 33-3 Filed 08/06/21 Page 44 of 57 Page ID #:519
                                    Schedule 6




              Sources/Note(s):
              TCI_00030182 - 30184.
          [1] Partial year revenue through May 31, 2021.



TNC v. TCI                                       CONFIDENTIAL                Reasonable Royalty
Damages Analysis                         Expert Report of David Drews, CLP   DREWS
                                                                                 July39
                                                                                      5, 2021
                           Case 2:20-cv-09091-PA-AS Document 33-3 Filed 08/06/21 Page 45 of 57 Page ID #:520
                                                                                             Schedule 7




    TCI_00030182 - 30184
[1] Partial year through May 31, 2021.
[2] Big Tire Dealers Inc. v. Goodyear Tire and Rubber Company , 561 F.2d 1365, 1374-76 (10th Cir. 1977).




Thrive Natural Care v. Thrive Causemetics                                               CONFIDENTIAL                 Corrective Advertising
Damages Analysis                                                                Expert Report of David Drews, CLP   DREWSJuly
                                                                                                                           405, 2021
Case 2:20-cv-09091-PA-AS Document 33-3 Filed 08/06/21 Page 46 of 57 Page ID #:521




                               APPENDICES




                                                                   DREWS 41
Case 2:20-cv-09091-PA-AS Document 33-3 Filed 08/06/21 Page 47 of 57 Page ID #:522




                                    APPENDIX A
                         QUALIFICATIONS OF DAVID DREWS, CLP

         I am currently a Principal with IPmetrics LLC, an intellectual property consulting firm.
     Prior to that, I was Director of Valuation at CONSOR Intellectual Asset Management. I have
     over thirty years’ experience as a financial analyst, primarily concentrated in valuing
     intellectual property of all types, including trademarks, copyrights, patents, know-how, trade
     secrets and domain names. My valuation experience includes projects involving use of the
     assets as collateral, transaction due diligence, joint venture negotiations, licensing, transfer
     pricing and bankruptcy / reorganization.

         I have performed valuations on assets as diverse as apparel, financial services, retail,
     automotive, processed food, non-profit organization, sports and consumer brand trademarks;
     mechanical, chemical and electrical patents, processes and trade secrets; customer lists; non-
     compete agreements; and entertainment industry characters, trademarks and copyrights. I have
     also been called upon to calculate damages related to infringement of intellectual property in
     numerous litigation and arbitration proceedings.

         Prior to concentrating on intellectual property, I was responsible for the analysis and
     valuation of a broad range of credit applicants and investment vehicles for California
     Commerce Bank. Before joining California Commerce Bank, he performed investment
     research at William O’Neil & Co. My responsibilities at O’Neil included in-depth analyses of
     companies in many different industries, including pharmaceuticals, retail, processed foods,
     apparel, biotechnology, computer software, financial services and scientific instruments,
     among others. I hold a Bachelor of Science degree in business administration / economics
     from the University of Nebraska. In addition, I hold the Certified Licensing Professional
     (CLP) designation, which indicates a demonstrated level of experience, proficiency and
     knowledge surrounding intellectual property licensing, commercialization and valuation.

         In addition to regularly publishing articles for numerous journals, industry publications and
     websites, I am a frequent lecturer on IP valuation issues. I have taught several courses for
     intellectual property valuation and related topics, including the Intellectual Property Valuation
     Workshop for the Licensing Executives Society, the Intellectual Property Damages course for
     the National Association of Certified Valuation Analysts and the Valuation of Intellectual
     Property course offered by the National Technology Transfer Center.

         I currently serve as Editor of les Nouvelles and previously served on the Famous and Well-
     Known Marks Committee of the International Trademark Association. In the past, I have
     served on the Valuation and Taxation Committee and the Trademarks Committee of the
     Licensing Executives Society USA/Canada and was Co-Chair on the Intellectual Property
     Valuation Committee of Licensing Executives Society International.

         IPmetrics was founded in 2000 to help clients establish and build the value of their
     intellectual property. The firm is headquartered in San Diego, California and serves clients
     throughout the global economy.




                                                                                       DREWS 42
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  PROFESSIONAL INSTRUCTION
     •   Continuing Legal Education – Instructor
            Courses: Intellectual Property Valuation Techniques
                      Monetary Remedies in Patent Litigation
                      Monetary Remedies in Trademark Cases
                      10 Common Mistakes in IP Valuation / Damages Reports
                      Brand Valuation
     •   Licensing Executives Society – Instructor
            Course: IP Valuation Workshop
     •   University of San Diego School of Law – Guest Instructor
            Course: Monetary Remedies in Trademark Cases
     •   NASA Langley Research Center – Guest Instructor
           Course: Valuation of Intellectual Property
     •   National Association of Certified Valuation Analysts (NACVA) – Past Instructor
            Course: Intellectual Property: Calculating Damages and Lost Profits
     •   National Technology Transfer Center – Past Instructor
            Course: Valuation of Intellectual Property

  PRESENTATIONS
     •   YMC “Ultimate Champion” Discussion; LESI Virtual Annual Meeting; May 2021 –
         Global Video Feed
     •   les Nouvelles Live! (March 2021 Issue Edition); LESI Webinar; March 2021 – Global
         Video Feed
     •   les Nouvelles Live! (December 2020 Issue Edition); LESI Webinar; January 2021 – Global
         Video Feed
     •   les Nouvelles Live! (September 2020 Issue Edition); LESI Webinar; September 2020 –
         Global Video Feed
     •   Monetary Remedies in Trademark Cases; University of San Diego School of Law; March
         2019 – San Diego, CA
     •   10 Common Mistakes in IP Valuation/Damages Reports; Kilpatrick Townsend & Stockton
         In-house CLE; September 2018 – San Francisco, CA
     •   10 Common Mistakes in IP Valuation/Damages Reports; Wilson Elser Moskowitz
         Edelman & Dicker In-house CLE; July 2018 – Nationwide Video Feed
     •   Select IP Damages Issues: Patents, Trademarks, Counterfeits; BakerHostetler In-house
         CLE; July 2018 – New York, NY
     •   Enter the Experts: Tips and Tools for Identifying Effective Expert Witnesses; American
         Bar Association Regional CLE Workshop; September 2017 – Los Angeles, CA
     •   Monetary Remedies in Trademark Cases; University of San Diego School of Law; April
         2017 – San Diego, CA

                                                                                 DREWS 43
Case 2:20-cv-09091-PA-AS Document 33-3 Filed 08/06/21 Page 49 of 57 Page ID #:524




     •   Brand Valuation; 12:30 Club; May 2016 – La Jolla, CA
     •   Gain a Competitive Advantage and Maximize the Value of your Deals: Investigating
         Current Trends in Licensing; LES USA & Canada Webinar; April 2016 – Abila.com
     •   Current Issues in Valuing Intellectual Property; VALCON 2016; March 2016 – Las Vegas,
         NV
     •   Monetary Remedies in Trademark Cases; University of San Diego School of Law; March
         2015 – San Diego, CA,
     •   IP Valuation Committee Study on Royalty Rates and Deal Structures; Licensing Executives
         Society (LES) USA & Canada Annual Meeting; October 2014 – San Francisco, CA
     •   IP Valuation Techniques; Kirkland & Ellis In-house CLE; September 2014 – New York,
         NY
     •   How to Determine Brand Value: A Rational Basis for Showing What a Brand Name is
         Worth for Licensing and Litigation; New Jersey Trademark Counsel Luncheon Club;
         September 2014 – Basking Ridge, NJ
     •   Monetary Remedies in Trademark Cases; Fish & Richardson In-house CLE; September
         2014 – Nationwide Video Feed
     •   IP Valuation Workshop; Tiger BDO Conference; July 2014 – Westlake Village, CA
     •   10 Common Mistakes in IP Valuation/Damages Reports; Jeffer Mangels Butler & Mitchell
         In-house CLE; July 2014 – Los Angeles, CA
     •   10 Common Mistakes in IP Valuation/Damages Reports; Winston & Strawn In-house
         CLE; July 2014 – San Francisco, CA
     •   IP Valuation Techniques 2-Day Workshop; Red OTT 2nd Annual Conference; November
         2013 – Monterrey, Mexico
     •   10 Common Mistakes in IP Valuation/Damages Reports; LES USA & Canada Webinar;
         November 2013 – Peachnewmedia.com
     •   How to Use IP to Secure Funding; IP Money Talk Webinar; September 2013 –
         Blogtalkradio.com
     •   IP Valuation Techniques; IPmetrics Ballpark Invitational CLE; April 2013 – San Diego,
         CA
     •   10 Common Mistakes in IP Valuation/Damages Reports; Licensing Executives Society
         International (LESI) Annual Meeting; April 2013 – Rio de Janeiro, Brazil
     •   10 Common Mistakes in IP Valuation/Damages Reports; LES USA & Canada Annual
         Meeting; October 2012 – Toronto, Canada
     •   IP Valuation Workshop; LES USA & Canada Annual Meeting; October 2012 – Toronto,
         Canada
     •   IP Valuation Techniques; Indiana Soybean Alliance IP Valuation Seminar; July 2012 –
         San Diego, CA



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     •   LESI IP Valuation Committee LES Society Survey Results; Global Technology Impact
         Forum; January 2012 – Geneva, Switzerland
     •   LESI Committee on IP Valuation Standards Survey Results; LES USA & Canada Annual
         Meeting; October 2011 – San Diego, CA
     •   IP Valuation Techniques; Bank of America Special Assets Group Meeting, June 2009 –
         Charlotte, NC (telephonic participation)
     •   IP Valuation Techniques; LES USA & Canada Annual Meeting; October 2008 – Orlando,
         FL
     •   Damages, Valuation and Expert Witness; Gibson, Dunn & Crutcher In-house CLE; June
         2008 – Irvine, CA
     •   Intellectual Property: Calculating Damages and Lost Profits; National Association of
         Certified Valuation Analysts (NACVA) Annual Meeting; December 2007 – Ft. Lauderdale,
         FL
     •   Intellectual Property: Calculating Damages and Lost Profits; NACVA Conference;
         October 2007 – Philadelphia, PA
     •   Intellectual Property Valuation Techniques; IP Portfolio Management Conference; May
         2007 – New York, NY
     •   Key Issues in IP Due Diligence; Due Diligence Symposium; April 2007 – Iselin, NJ
     •   IP Valuation Techniques; BIO IPCC Spring Meeting; January 2007 – San Diego, CA
     •   Life Sciences IP Due Diligence; American Conference Institute; January 2007 – San
         Francisco, CA
     •   Intellectual Property: Calculating Damages and Lost Profits; NACVA Annual Meeting;
         December 2006 – Coronado, CA
     •   Fundamentals of Intellectual Property Valuation; IP Licensing Summit; August 2006 –
         New York, NY
     •   Monetization of Intellectual Property; SRI Monetization Conference; June 2006 – Boston,
         MA
     •   NTP vs. RIM: Valuation Perspectives; American Intellectual Property Law Association
         (AIPLA) Spring Meeting; May 2006 – Chicago, IL
     •   Perfecting Security Interests in Intellectual Property; PhillipsLytle / HSBC IP
         Securitization Conference; March 2006 – New York, NY
     •   Opening the Black Box: IP Valuation, Securitization and Disposition Unveiled;
         Commercial Finance Association Annual Conference; November 2005 – San Diego, CA
     •   Brand Valuation; LINK New York; October 2005 – New York, NY
     •   Intellectual Property Valuation Techniques; FindLaw IP Strategies in Deals; October 2004
         – Palo Alto, CA
     •   Intellectual Property Valuation Techniques; Sterling Intellectual Property Issues Seminar;
         July 2004 – San Diego, CA

                                                                                    DREWS 45
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     •   Leveraging IP via the Capital Markets; Sterling Intellectual Property Issues Seminar; July
         2004 – San Diego, CA
     •   Innovative Deal Structures – Licensing Intellectual Property; American Conference
         Institute; October 2000 – Beverly Hills, CA
     •   Licensing on the Internet; LES USA & Canada Annual Meeting; September 2000 –
         Toronto, Canada
     •   Valuation of Electronic Assets; Glasser Legalworks 11th Annual Institute; March 2000 –
         San Francisco, CA
     •   Valuation of Domain Names; Glasser Legalworks 10th Annual Institute; November 1999
         – Los Angeles, CA
     •   Valuation of Domain Names; LES USA & Canada Annual Meeting; October 1999 – San
         Antonio, TX
     •   Licensing Executives: Guardians of Corporate Technology; LES USA & Canada Annual
         Meeting; October 1999 – San Antonio, TX
     •   Intellectual Property & Reorganizations; Second Annual Conference on Corporate
         Reorganizations; September 1999 – Chicago, IL
     •   Valuation of Intellectual Properties; Pillsbury, Madison & Sutro In-house CLE; August
         1999 – San Diego, CA
     •   Helping Clients Understand and Build the Value of their Intangible Assets; Dow Chemical
         Company; August 1998 – Midland, MI




                                                                                    DREWS 46
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  PROFESSIONAL ASSOCIATIONS
     •   Certified Licensing Professional (CLP)
     •   International Trademark Association (INTA)
     •   Licensing Executives Society (LES)
     •   San Diego Intellectual Property Law Association (SDIPLA)

  PUBLICATIONS – PREVIOUS TEN YEARS
    •    Current Issues in Valuing Intellectual Property - Bankruptcy
         (VALCON 2016 Course Materials, March 2016)
    •    Ten Common Mistakes in IP Valuation/Damages Reports
         (les Nouvelles, September 2015)
    •    Determining an Appropriate Royalty Rate for Reasonable Royalty Trademark
         Damages – A Modified Georgia-Pacific Framework
         (les Nouvelles, September 2014)
    •    Reasonable Royalty Damages in Trademark Cases
         (Intellectual Property Today, August 2013)
    •    LESI IP Valuation and Standards Committee Report on IP Valuation Survey of LES
         National Societies
         (les Nouvelles, June 2012)
    •    Intellectual Property Valuation (Updated)
         (Chapter 23 – Drafting License Agreements, Fourth Edition, 2012 Supplement, March
         2012)
    •    Rules of the Road: Valuing Commercialized Software-Based Technology
         (les Nouvelles, June 2011)
    •    Properly Evaluating a Target with Intellectual Property Rights
         (Chapter 2 – Intellectual Property Strategies for the 21st Century Corporation, May 2011)
    •    Countering the Impact of Private Label on Brand Value
         (Total Licensing, Winter 2009)




                                                                                    DREWS 47
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                              APPENDIX B
           DOCUMENTS AND SOURCES REVIEWED AND/OR RELIED UPON

   In the course of conducting my analysis and preparing this report, I reviewed and/or relied upon
   the following principal documents and sources, as well as the documents and sources cited in the
   body of the report, including the footnote references.

   1. Complaint for Federal Trademark Infringement, Federal Unfair Competition, Common Law
       Trademark Infringement, Common Law Unfair Competition and Violation of Cal. Bus. &
       Prof. Code § 17200 dated October 2, 2020 and Exhibits [Document 1]
   2. First Amended Complaint for Federal Trademark Infringement, Federal Unfair Competition,
       Common Law Trademark Infringement, Common Law Unfair Competition and Violation of
       Cal. Bus. & Prof. Code § 17200 dated July 1, 2021 and Exhibits [Document 28]
   3. Stipulated Protective Order [Document 17]
   4. Deposition of Ned A. Menninger dated May 27, 2021, and Exhibits
   5. Videoconference 30 (b)(6) Deposition of Karissa Bodnar dated June 3, 2021, and Exhibits
   6. Plaintiff Thrive Natural Care, Inc.’s Initial Disclosures
   7. Plaintiff Thrive Natural Care, Inc.’s Responses to Defendant Thrive Causemetics, Inc.’s First
       Set of Interrogatories
   8. Defendant Thrive Causemetics, Inc.’s Supplemental Responses and Objections to Plaintiff
       Thrive Natural Care, Inc.’s First Set of Interrogatories
   9. TCI_00014424
   10. TCI_00019097 – 19118
   11. TCI_00019120 – 19159
   12. TCI_00019235
   13. TCI_00019247 – 19255
   14. TCI_00022753 – 22767
   15. TCI_00024084
   16. TCI_00024093 – 24408
   17. TCI_00026950 – 26955
   18. TCI_00027717 – 27719
   19. TCI_00027864 – 27865
   20. TCI_00027881 – 27900
   21. TCI_00028581 – 28582
   22. TCI_00028612 – 28614
   23. TCI_00030182 – 30184
   24. TNC Ad Sales Documents (Attorney’s Eyes Only) [Excel Files]
   25. TNC00001 – 00004
   26. TNC00895-U
   27. TNC00896-U
   28. TNC00897-U
   29. TNC00898-U

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   30. TNC00902 – 906
   31. TNC00908 – 924
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   33. TNC01007 – 1009
   34. TNC01100 – 1114
   35. TNC01129 – 1148
   36. TNC01239-U
   37. TNC01282 – 1299
   38. TNC01344 – 1364
   39. TNC01554 – 1559
   40. TNC01593 – 1597
   41. Thrive Natural Care_Unit+$Sales_1Q17-1Q21_v6-30-21
   42. Facebook AdsManager
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   44. KtMine 107425
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   46. KtMine 13423
   47. KtMine 47363
   48. KtMine 4965
   49. KtMine 60021
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   51. Royalty Range RR20180122T00104
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   54. Royalty Range RR20201006T04302
   55. Royalty Range RR20140327T06001
   56. Royalty Range RR20201103T00902
   57. Thrivecare.co
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   59. uspto.gov
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   61. royaltystat.com
   62. ktmine.com
   63. royaltyrange.com
   64. epollresearch.com
   65. 15 U.S.C. § 1117(a)
   66. Georgia-Pacific Corp. v. U.S. Plywood-Champion Papers, Inc., 446 F.2d 295, 170, 170
       U.S.P.Q. 369 (2d Cir. 1971)



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   67. American Farm Bureau Federation v. Alabama Farmers Federation, et al., 935 F. Supp. 1533
       – USDC, M.D. Alabama, 11th Circuit (1996)
   68. Lindy Pen Co. v. Bic Pen Corp., 982 F.2d 1400, 1407 (9th Cir. 1993)
   69. Jerry’s Famous Deli, Inc. v. Papanicolaou, 383 F.3d 998, 1004-05 (9th Cir. 2004)
   70. Romag Fasteners, Inc. v. Fossil Group, Inc., No. 18-1233, Slip Op. (S. Ct. April 23, 2020)
   71. Adray CBS v. Adry-Mart, Inc., 68 F.3d 362 (9th Cir. 1995)
   72. Big Tire Dealers Inc. v. Goodyear Tire and Rubber Company, 561 F.2d 1365, 1374-76 (10th
       Cir. 1977).
   73. Pom Wonderful LLC v. Hubbard, 775 F.3d 1118, 1125 (9th Cir. 2014)
   74. US Trademark Registration No. 4467942
   75. US Trademark Application No. 86721790
   76. US Trademark Application No. 87895130
   77. https://www.beautyindependent.com/thrive-causemetics-major-dtc-beauty-business/
   78. https://bestcompany.com/makeup-stores/company/thrive-causemetics
   79. https://en.wikipedia.org/wiki/Kathy_Hilton
   80. https://today.yougov.com/topics/entertainment/explore/tv_personality/Mario_Lopez
   81. https://www.instyle.com/beauty/makeup/thrive-causemetics-karissa-bodnar; TNC01143 – 48
   82. https://en.wikipedia.org/wiki/Tommy_Bahama
   83. https://www.tommybahama.com/
   84. https://fashionunited.com/i/most-valuable-fashion-brands/
   85. https://today.yougov.com/ratings/consumer/popularity/clothing-footwear-brands/all
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   87. https://en.wikipedia.org/wiki/Kathy_Hilton




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                                           APPENDIX C
                                          COMPENSATION

  IPmetrics is being compensated on this project at a rate of $450 per hour for all services related to
  the presentation of this report. Expenses are not included in the above fee and are billed separately.
  Time involved in the preparation for deposition and/or trial, as well as expert testimony given in
  deposition and/or trial, will also be compensated at $450 per hour. IPmetrics’ compensation is not
  dependent, in any way, upon the conclusions reached during the performance of the analysis.




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